              Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

ABIGAIL SHAUGHNESSY, individually and                     Case No.
on behalf of all others similarly situated,

                        Plaintiff,                        CLASS ACTION COMPLAINT

         v.                                               JURY TRIAL DEMANDED
NESPRESSO USA, INC.,

                        Defendant.



         Plaintiff Abigail Shaughnessy (“Plaintiff”) brings this action on behalf of herself and all

others similarly situated against Defendant Nespresso USA, Inc. (“Defendant”) for the

manufacture, marketing, and sale of consumer products that include espresso and coffee machines

sold under the Nespresso Vertuo brand name (the “Products”). Plaintiff makes the following

allegations pursuant to the investigation of her counsel and based upon information and belief,

except as to the allegations specifically pertaining to herself, which are based on personal

knowledge.

                                       NATURE OF ACTION

         1.       This is a class action against Defendant for the marketing, manufacture, and/or sale

of consumer products (the “Products”), the warranties of which include statements that condition

the continued validity of the warranties on the use of only an authorized repair service and/or

authorized replacement parts (a “tying arrangement” or “unlawful repair restriction”). Tying

arrangements that “state or imply that a consumer must buy or use an item or service from a

particular company to keep their warranty coverage” violate state and federal law. 1 Here, in

addition to unlawful restrictions against third-party parts and repair services, the Products’


1
    https://www.ftc.gov/business-guidance/resources/businesspersons-guide-federal-warranty-law.



                                                   1
            Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 2 of 20




warranty states and/or implies that consumers need to purchase Nespresso Vertuo branded Coffee

Capsules from Nespresso, at inflated prices, to keep their warranty coverage. Had Plaintiff – or

other reasonable class members – been aware that the tying arrangement was unlawful, she would

not have purchased the Product, or she would have paid significantly less for it.

       2.       Plaintiff brings her claims against Defendant individually and on behalf of a class

of all other similarly situated purchasers of the Products for: (i) violations of the Magnuson-Moss

Warranty Act, (ii) unjust enrichment, (iii) fraud, (iv) fraudulent omission, and (v) declaratory

judgement.

                                             PARTIES

       3.       Plaintiff Abigail Shaughnessy is, and at all times relevant to this action has been, a

resident of Winthrop, Massachusetts and a citizen of Massachusetts. In or about July 2020, Ms.

Shaughnessy purchased one Nespresso Vertuo Next Premium Coffee Machine for $121.54 from

the Bed Bath & Beyond website, which shipped the Product to her home. Ms. Shaughnessy

purchased the Product, reasonably believing its warranty complied with state and federal law.

However, the Product Ms. Shaughnessy purchased did not comply with state and federal law

because the unlawful tying arrangement attached to the warranty stated and/or implied that she

would need to purchase Nespresso Vertuo branded Coffee Capsules from Nespresso to keep her

warranty coverage. Ms. Shaughnessy would not have purchased the Product, or she would have

paid significantly less for the Product, had she known that the Product did not comply with state

and federal law. The warranty for the Product Ms. Shaughnessy purchased can be found at

https://www.nespresso.com/shared_res/mos/docs/us/US_VERTUO_NEXT_USER_MANUAL.p

df.




                                                  2
             Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 3 of 20




        4.       Because of Defendant’s written warranty, Ms. Shaughnessy purchased several

Nespresso Vertuo branded Coffee Capsules at inflated prices. She would have liked to use cheaper

third-party coffee capsules, but her warranty, as written, implied that she was prohibited from

doing so.

        5.       Defendant Nespresso USA, Inc. is a Delaware corporation with its principal place

of business at 101 Park Ave, New York, NY 10178. Defendant markets and distributes the

Products throughout the United States. Defendant sells its products to consumers on websites and

retail stores nationwide.

                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d) because there are more than 100 class members and the aggregate amount in controversy

exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one Class member is a citizen

of a state different from Defendant.

        7.       This Court has personal jurisdiction over Defendant because a substantial portion

of the events that gave rise to Plaintiff’s claims occurred in this District and because Defendant’s

principal place of business is in this District.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

portion of the events giving rise to Plaintiff’s claims took place within this District at Defendant’s

principal place of business.

                            COMMON FACTUAL ALLEGATIONS

I.      Defendant’s Business Activities

        9.       Defendant distributes consumer products to retailers throughout the United States,

who then sell the appliances to consumers.




                                                   3
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 4 of 20




       10.     Defendant’s products include espresso and coffee machines sold under the

“Nespresso Vertuo” brand name.

       11.     All the relevant Products include the same unlawful repair restriction in their

warranties.

       12.     Defendant has advertised, marketed, offered for sale, sold, and distributed products

through authorized dealers to consumers.

       13.     Defendant’s Products include a “written warranty” as defined by the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(6), in the form of a limited warranty (“Warranty

Statement”).

       14.     The length of the limited warranty offered by Defendant is one year.

       15.     Defendant’s limited warranty includes the aforementioned tying arrangement.

II.    Defendant Conditions Warranty Coverage On Purchasing First-Party Nespresso
       Vertuo Coffee Capsules, As Well As Additional Unlawful Repair Restrictions

       16.     In numerous instances, Defendant, through its warranty statements on the Products,

conditions warranty coverage on the usage and purchase of Defendant’s own Nespresso Vertuo

Coffee Capsules, rather than allowing consumers to purchase cheaper third-party coffee capsules.

       17.     Specifically, Defendant’s warranty states: “This appliance is designed for

Nespresso Vertuo coffee capsules available exclusively through the Nespresso Club or your

Nespresso authorized representative.” 2




2

https://www.nespresso.com/shared_res/mos/docs/us/US_VERTUO_NEXT_USER_MANUAL.p
df.




                                                4
            Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 5 of 20




          18.   Defendant’s warranty also states the following: “Only use capsules intended for

this appliance,” 3 and “This machine operates with Nespresso Vertuo capsules.” 4

          19.   Defendant’s warranty also states, “This limited guarantee does not apply to any

defect resulting from … failure to follow the product instructions … [or] unauthorized product

modification or repair.” 5

          20.   In these passages, Defendant clearly implies that the full advantage of the Product’s

Warranty is only available to users who purchase expensive first party Nespresso Vertuo Coffee

Capsules.

          21.   Under Defendant’s warranty, Defendant, in effect, provides parts in a manner

which impedes or precludes the choice by the consumer to perform necessary labor to install such

parts.

          22.   By conditioning its warranty in this manner, Defendant has violated the tying

prohibition in the Magnuson-Moss Warranty Act, which prohibits companies from conditioning

their warranties on a consumer’s use of any article or service (other than an article or service

provided without charge under the terms of the warranty) identified by brand, trade, or corporate

name.

          23.   Defendant’s practices also violate state laws, as well as Section 5(a)(1) of the FTC

Act, 15 U.S.C. § 45(a)(1), which prohibits unfair or deceptive actors or practices, as well as unfair

methods of competition, in or affecting commerce. Section 5 also encompasses violations of the

Sherman Act, which prohibits certain exclusionary and other anticompetitive conduct.


3
    Id.
4
    Id.
5
    Id.




                                                  5
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 6 of 20




III.   The Magnuson-Moss Warranty Act

       24.     The Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301-2312, is the federal law

that regulates consumer warranties and the procedures used to resolve warranty disputes. It also

directs the FTC to prescribe rules enforcing certain requirements pertaining to the use and content

of consumer warranties.

       25.     Section 2302(c) of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2302(c),

prohibits any warrantor from conditioning a warranty on the consumer’s using, in connection with

the warranted product, any article or service (other than an article or service provided without

charge under the terms of the warranty) which is identified by brand, trade, or corporate name.

       26.     An FTC Rule interpreting this provision specifically addresses warranty language

(nearly identical to Defendant’s warranty):

               No warrantor may condition the continued validity of a warranty on
               the use of only authorized repair service and/or authorized
               replacement parts for non-warranty service and maintenance (other
               than an article of service provided without charge under the
               warranty or unless the warrantor has obtained a waiver pursuant to
               section 102(c) of the Act, 15 U.S.C. 2302(c)). For example,
               provisions such as, “This warranty is void if service is performed by
               anyone other than an authorized ‘ABC’ dealer and all replacement
               parts must be genuine ‘ABC’ parts,” and the like, are prohibited
               where the service or parts are not covered by the warranty. These
               provisions violate the Act in two ways. First, they violate the section
               102(c), 15 U.S.C. 2302(c), ban against tying arrangements. Second,
               such provisions are deceptive under section 110 of the Act, 15
               U.S.C. 2310, because a warrantor cannot, as a matter of law, avoid
               liability under a written warranty where a defect is unrelated to the
               use by a consumer of “unauthorized” articles or service.

16 CFR § 700.10(c).

       27.     The animating purpose of Magnuson-Moss’s anti-tying provision was explained by

then-FTC-Chairman Lewis Engman in the early 1970s in the run-up to the Act’s introduction:




                                                 6
          Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 7 of 20




               This [anti-tying] provision addresses the anticompetitive practice
               which the Commission has opposed in numerous court actions
               wherein a manufacturer uses a warranty unreasonably to tie his
               supplementary products or services to the warranted product. This
               leaves the consumer in the undesirable posture of losing his
               warranty protection if he purchases the supplementary items from
               another and perhaps less expensive source—even if he does so in
               complete ignorance of the warranty’s provisions. 6

       28.     Finally, the FTC recently clarified that the disclaimer of liability does not need to

be explicit. Instead, “a warrantor would violate the MMWA if its warranty led a reasonable

consumer exercising due care to believe that the warranty conditioned coverage ‘on the consumer’s

use of an article or service identified by brand, trade or corporate name.’” 7

IV.    Section 5 Of The Federal Trade Commission Act

       29.     The FTC has found that a “manufacturer’s use of a repair restriction could be

challenged as an unfair practice under Section 5 of the FTC Act if the repair restriction causes

substantial injury (e.g., monetary harm or unwarranted health and safety risks) that is not

outweighed by countervailing benefits to consumers or competition that the practice produces, and

the injury could not have been reasonably avoided by consumers.” 8

       30.     Per a 2021 FTC Report, “[e]ven when a warranty does not explicitly require that

repairs be performed by the original equipment manufacturer (OEM) using OEM parts, many



6
 Statement of Hon. Lewis A. Engman, Chairman, Federal Trade Commission, included in H.
Rep. No. 93-17, at 58 (1973).
7
 Final Action: Magnuson-Moss Warranty Act Interpretations; Rules Governing Disclosure of
Written Consumer Product Warranty Terms and Conditions, Pre-Sale Availability of Written
Warranty Terms, and Informal Dispute Settlement Procedures; and Ad Guides, Federal Trade
Commission, 11 (May 22, 2015),
https://www.ftc.gov/system/files/documents/federal_register_notices/2015/05/150522 mag-
mossfrn.pdf).
8
  https://www.ftc.gov/system/files/documents/reports/nixing-fix-ftc-report-congress-repair-
restrictions/nixing_the_fix_report_final_5521_630pm-508_002.pdf, pg 14.




                                                  7
             Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 8 of 20




manufacturers restrict independent repair and repair by consumers through [inter alia] Product

designs that complicate or prevent repair; … Policies or statements that steer consumers to

manufacturer repair networks; … [and] Disparagement of non-OEM parts and independent

repair[.]” 9

          31.     The 2021 FTC Report confirmed that MMWA-violative conduct was rampant in

the marketplace:

                  The Commission continues to receive reports of companies not
                  complying with the MMWA. In response to staff’s call for empirical
                  research and comments related to the Workshop, several
                  organizations reported that warranty tying continues to be prevalent
                  in the marketplace. For example, the Education Fund of U.S. PIRG,
                  the federation of state Public Interest Research Groups (PIRGs),
                  submitted an October 2018 study analyzing warranties from 50
                  companies. U.S. PIRG concluded that 45 of the 50 companies had
                  warranties that appeared to violate Section 102(c) of the MMWA.
                  Likewise, the Specialty Equipment Market Association (SEMA)
                  submitted a comment stating that it regularly receives complaints
                  that automobile dealerships void automobile warranties if the
                  dealership finds a specialty part (e.g., custom wheels) had been
                  installed on the automobile, regardless of whether the specialty part
                  caused the automobile to malfunction. Other commenters submitted
                  information claiming that certain warrantors either expressly or by
                  implication continue to condition warranty coverage of the use of
                  particular products or services. … Tying is illegal where the effect
                  is to impair competition and harm consumers in the market for either
                  the tying product or the tied product. 10

          32.     Section 5 of the Federal Trade Commission Act prohibits unfair or deceptive

actions or practices, as well as unfair methods of competition, in or affecting commerce. Section

5 also encompasses violations of the Sherman Act, which prohibits certain exclusionary and other

anticompetitive conduct. See, e.g., Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S.

451 (1992); United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001).


9
    Id., pg 6.
10
     Id., pg 8.



                                                   8
            Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 9 of 20




          33.    The FTC has noted that “[r]estricting consumers and businesses from choosing how

they repair products can substantially increase the total cost of repairs, generate harmful electronic

waste, and unnecessarily increase wait times for repairs. In contrast, providing more choice in

repairs can lead to lower costs, reduce e-waste by extending the useful lifespan of products, enable

more timely repairs, and provide economic opportunities for entrepreneurs and local businesses.” 11

          34.    The FTC has issued several warning letters to companies that appeared to be

engaged in warranty tying in violation of the Magnuson-Moss Warranty Act and has brought at

least one enforcement action. See e.g. Exhibits 1-6.

          35.    This includes letters to companies that offer ostensibly free repairs under the

warranty.

          36.    Microsoft, for example, was sent a compliance warning letter from the FTC for

including a provision in the Xbox One warranty that stated that “Microsoft is not responsible and

this warranty does not apply if Your Xbox One or Accessory is: ... (f) repaired by anyone other

than Microsoft.” See Exhibit 1. This is despite the warranty stating that “Microsoft will (at its

option) repair or replace it, or refund the purchase price to You.” See Exhibit 8, pg. 2.

          37.    In response to this enforcement letter, Microsoft updated their warranty to remove

the offending provision. 12 13




11
 https://www.ftc.gov/system/files/documents/public_statements/1592330/p194400repairrestricti
onspolicystatement.pdf, pg 1.
12
  https://www.ign.com/articles/2018/05/10/nintendo-and-sony-update-their-warranty-policies-
following-ftc-warning (last accessed June 6, 2022).
13
     See exhibit 9 for Microsoft’s updated warranty.




                                                  9
            Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 10 of 20




           38.    The FTC has concluded that “it is clear that repair restrictions … steered consumers

into manufacturers’ repair networks or to replace products before the end of their useful lives.” 14

           39.    The FTC has also expressed concern that tying arrangements “may place a greater

financial burden on communities of color and lower-income Americans.” 15

           40.    While manufacturers explain that these tying arrangements often arise from their

desire to protect intellectual property rights and prevent injuries and other negative consequences

resulting from improper repairs, the FTC has found that such justifications “should be rejected if

found to be a mere pretext for anticompetitive conduct.” 16

           41.    Here there is no justification for Defendant’s tying arrangements since the

technology inside many of Defendant’s Products (such as its espresso and coffee machines) are

well-known and simple.

           42.    Due to these factors, on July 21, 2021, the FTC unanimously voted to ramp up law

enforcement against tying arrangements that prevent small businesses, workers, consumers, and

even government entities from fixing their own products. 17

                          CLASS REPRESENTATION ALLEGATIONS

           43.    Plaintiff seeks to represent a class defined as all purchasers of Nespresso Vertuo

branded products in the United States with warranty provisions that prohibit self-repair and/or the




14
   “Nixing the Fix: An FTC Report to Congress on Repair Restrictions”, available at
https://www.ftc.gov/system/files/documents/reports/nixing-fix-ftc-report-congress-repair-
restrictions/nixing_the_fix_report_final_5521_630pm-508_002.pdf, pg 6.
15
     Id. at 5.
16
     Id. at 10.
17
   https://www.ftc.gov/news-events/press-releases/2021/07/ftc-ramp-law-enforcement-against-
illegal-repair-restrictions.



                                                   10
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 11 of 20




use of unauthorized parts (the “Class”). Excluded from the Class are persons who made such

purchases for the purpose of resale.

       44.     Plaintiff also seeks to represent a subclass of all Class Members who purchased

Nespresso Vertuo branded products in the Commonwealth of Massachusetts with warranty

provisions that prohibit self-repair and/or the use of unauthorized parts (the “Massachusetts

Subclass”) (collectively with the Class, the “Classes”).

       45.     Subject to additional information obtained through further investigation and

discovery, the above-described Classes may be modified or narrowed as appropriate, including

through the use of multi-state subclasses.

       46.     At this time, Plaintiff does not know the exact number of members of the

aforementioned Class and Massachusetts Subclass (“Class Members” and “Subclass Members,”

respectively) but believes it numbers in the hundreds of thousands. Given the size of the

Defendant’s operation and the number of retail stores in the United States selling Defendant’s

Products, Plaintiff believes that Class and Subclass Members are so numerous that joinder of all

members is impracticable.

       47.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Classes that

predominate over questions that may affect individual Class Members include:

               (a)   Whether Defendant misrepresented and/or failed to disclose
                     material facts concerning the Products;

               (b)   whether Defendant’s conduct was unfair and/or deceptive;

               (c)   whether Defendant has been unjustly enriched as a result of the

                     unlawful conduct alleged in this Complaint such that it would be




                                                11
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 12 of 20



                     inequitable for Defendant to retain the benefits conferred upon

                     Defendant by Plaintiff and the Classes;

               (d)   whether Plaintiff and the Classes sustained damages with respect

                     to the common law claims asserted, and if so, the proper measure

                     of their damages;

               (e)   whether Defendant’s conduct violates the Magnuson-Moss

                     Warranty Act; and

               (f)   whether Defendant’s conduct violates section 5 of the Federal

                     Trade Commission Act.

       48.     Plaintiff’s claims are typical of those of the Classes because Plaintiff, like all

members of the Classes, purchased, in a typical consumer setting, Defendant’s Products, and

Plaintiff sustained damages on account of Defendant’s wrongful conduct.

       49.     Plaintiff will fairly and adequately protect the interests of the Classes and has

retained counsel that is experienced in litigating complex class actions. Plaintiff has no interests

which conflict with those of the Classes.

       50.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, especially given the potentially low individual damages suffered

by individual class members.

       51.     The prosecution of separate actions by members of the Classes would create a risk

of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

example, one court might enjoin Defendant from performing the challenged acts, whereas another

might not. In addition, individual actions could be dispositive of the interests of the Classes even

where certain Class or Subclass Members are not parties to such actions.

                                          COUNT I
                       Violation Of The Magnuson-Moss Warranty Act,
                                   15 U.S.C. §§ 2301, et seq.



                                                12
          Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 13 of 20




         52.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         53.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendant.

         54.   The Products are consumer products as defined in 15 U.S.C. § 2301(1).

         55.   Plaintiff and the Class and Subclass Members are consumers as defined in 15

U.S.C. § 2301(3).

         56.   Defendant is a supplier and warrantor as defined by the Warranty Act because it is

a supplier or entity who gives or offers to give a written warranty or who are or may be obligated

under an implied warranty. 15 U.S.C. § 2301(4) and (5).

         57.   No warrantor may condition the continued validity of a warranty on the use of only

authorized repair service and/or authorized replacement parts for non-warranty service and

maintenance (other than an article of service provided without charge under the warranty or unless

the warrantor has obtained a waiver pursuant to section 102(c) of the Act, 15 U.S.C. 2302(c)). 16

CFR § 700.10(c).

         58.   In connection with the marketing and sale of the Product, Defendant has

conditioned a warranty on the consumer’s using, in connection with the warranted Product, with

the use of only an authorized repair service and/or authorize replacement parts. 16 CFR §

700.10(c).




                                               13
            Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 14 of 20




           59.   Specifically, Defendant’s warranty states: “This appliance is designed for

Nespresso Vertuo coffee capsules available exclusively through the Nespresso Club or your

Nespresso authorized representative.” 18

           60.   Defendant’s warranty also states the following: “Only use capsules intended for

this appliance,” 19 and “This machine operates with Nespresso Vertuo capsules.” 20

           61.   Defendant’s warranty also states, “This limited guarantee does not apply to any

defect resulting from … failure to follow the product instructions … [or] unauthorized product

modification or repair.” 21

           62.   In these passages, Defendant clearly implies that the full advantage of the Product’s

Warranty is only available to users who purchase expensive first party Nespresso Vertuo Coffee

Capsules.

           63.   Additionally, warrantors offering a limited warranty that provides only for the

replacement of defective parts and no portion of labor charges, are prohibited from conditioning

that the consumer use only service (labor) identified by the warrantor to install the replacement

parts. A warrantor or her designated representative may not provide parts under the warranty in a

manner which impedes or precludes the choice by the consumer of the person or business to

perform necessary labor to install such parts. 16 C.F.R. § 700.10(b).




18

https://www.nespresso.com/shared_res/mos/docs/us/US_VERTUO_NEXT_USER_MANUAL.p
df.
19
     Id.
20
     Id.
21
     Id.




                                                  14
          Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 15 of 20




         64.    Defendant also violates this provision by requiring that any modification of

Defendant’s products be performed with the authorization of Defendant, specifically stating, “Any

servicing other than cleaning and user maintenance should be performed by an authorized service

representative.” 22

         65.    By reason of Defendant’s breach of warranties, Defendant violated the statutory

rights due Plaintiff and the Class and Subclass Members pursuant to the Magnuson-Moss Warranty

Act, 15 U.S.C. §§ 2301, et seq., thereby economically damaging Plaintiff and the Class and

Subclass Members.

         66.    Plaintiff and the Class and Subclass Members were injured as a direct and

proximate result of Defendant’s breach because they would not have purchased the Products if

they knew the truth about the unlawful nature of the Products or would have paid substantially less

for them.

         67.    Plaintiff and the Class and Subclass Members were also injured as a direct and

proximate result of Defendant’s breach because Defendant’s breach caused Plaintiff and members

of the Classes to purchase Nespresso Vertuo branded coffee capsules at inflated prices, rather than

cheaper third-party coffee capsules.

                                          COUNT II
                                       Unjust Enrichment

         68.    Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         69.    Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendant.


22

https://www.nespresso.com/shared_res/mos/docs/us/US_VERTUO_NEXT_USER_MANUAL.p
df, pg 8.



                                                15
          Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 16 of 20




         70.   Plaintiff and members of the Classes conferred benefits on Defendant by

purchasing the Products.

         71.   Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff and Class and Subclass Members’ purchases of the Product. Retention of those moneys

under these circumstances is unjust and inequitable because Defendant did not disclose that the

tying arrangement was unlawful and unenforceable. These omissions caused injuries to Plaintiff

and Class and Subclass members because they would not have purchased the Products if the true

facts were known or would have paid substantially less for the Products. Plaintiff and the Class

and Subclass Members were also injured as a direct and proximate result of Defendant’s omissions

because Defendant’s omissions caused Plaintiff and members of the Classes to purchase Nespresso

Vertuo branded coffee capsules at inflated prices rather than cheaper third-party coffee capsules

         72.   Because Defendant’s retention of the non-gratuitous benefits conferred on it by

Plaintiff and members of the Classes is unjust and inequitable, Defendant must pay restitution to

Plaintiff and members of the Classes for its unjust enrichment, as ordered by the Court.

                                          COUNT III
                                            Fraud

         73.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         74.   Plaintiff brings this claim individually and on behalf of the members of the Classes

against Defendant.

         75.   As discussed above, Defendant provided Plaintiff and members of the Classes with

false or misleading material information about the Products.

         76.   Specifically, Defendant indicated to Plaintiff and members of the Classes that they

would be unable to repair or use parts not authorized by Defendant on the products that they had




                                                16
          Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 17 of 20




just purchased. Defendant knowingly added this provision in order to encourage Plaintiff and

members of the Classes to purchase new Products and/or Nespresso Vertuo branded Coffee

Capsules at inflated prices rather than purchase third-party coffee capsules.

         77.   Defendant misrepresented these unlawful tying arrangements as binding and

enforceable even though such restrictions were explicitly unlawful according to FTC regulations

and thus unenforceable.

         78.   These misrepresentations were made with knowledge of their falsehood.

         79.   The misrepresentations made by Defendant, upon which Plaintiff and members of

the Classes reasonably and justifiably relied, were intended to induce, and actually induced

Plaintiff and members of the Classes to purchase Nespresso Vertuo branded coffee capsules that

they otherwise would not have or at least pay substantially more for the coffee capsules than they

would have.

         80.   The fraudulent actions of Defendant caused damage to Plaintiff and members of

the Classes in the form of price premiums. Thus, Plaintiff and members of the Classes are entitled

to damages and other legal and equitable relief as a result.

                                          COUNT IV
                                      Fraudulent Omission

         81.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         82.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendant.

         83.   This claim is based on fraudulent omissions concerning the unlawfulness of the

tying arrangements that are included in Defendant’s warranties. As discussed above, Defendant

failed to disclose that the Products’ tying arrangements were unlawful and unenforceable.




                                                 17
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 18 of 20




       84.     The false and misleading omissions were made with knowledge of their falsehood.

Defendant manufactures, markets, and sells consumer products nationwide and knows that the

FTC has stated that tying arrangements of the type that appears on Defendant’s warranty are

unlawful. Nonetheless, Defendant continued to include its unlawful tying arrangements on its

Products.

       85.      The false and misleading omissions were made by Defendant, upon which Plaintiff

and members of the proposed Classes reasonably and justifiably relied, and were intended to

induce, and actually induced, Plaintiff and members of the Classes to purchase Products that they

otherwise would not have or at least pay substantially more for the Products than they otherwise

would have.

       86.     The fraudulent actions of Defendant caused damage to Plaintiff and members of

the proposed Classes, who are entitled to damages and punitive damages.

                                          COUNT V
                                     Declaratory Judgment
       87.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above as though fully set forth herein.

       88.     Plaintiff brings this claim individually and on behalf of members of the Classes

against Defendant.

       89.     As described above, under Federal law it is unlawful for Defendant to condition the

continued validity of a warranty on the use of only an authorized repair service and/or authorized

replacement parts.

       90.     As currently written, Plaintiff cannot take full advantage of her Product’s warranty

without purchasing Nespresso Vertuo branded Coffee Capsules at inflated prices.




                                                18
         Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 19 of 20




       91.     There is an actual controversy between the parties, requiring a declaratory

judgment.

       92.     This claim for declaratory judgment is brought pursuant to 28 U.S.C. § 2201 et seq.,

seeking a determination by the Court: (a) that this action may proceed and be maintained as a class

action; (b) that Defendant’s tying arrangements are void and unenforceable; (c) that an award of

reasonable attorneys’ fees and costs of suit to Plaintiff and the Class is appropriate; and such other

and further relief as is necessary and just may be appropriate as well.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

               (a)   For an order certifying the nationwide Class and Massachusetts

                     Subclass under Rule 23 of the Federal Rules of Civil Procedure and

                     naming Plaintiff as representative of the Class and Massachusetts

                     Subclass and Plaintiff’s attorneys as Class Counsel to represent the

                     Class and Massachusetts Subclass Members;

               (b)   For an order declaring the Defendant’s conduct violates the statutes

                     referenced herein;

               (c)   For an order finding in favor of Plaintiff, the nationwide Class, and

                     the Massachusetts Subclass on all counts asserted herein;

               (d)   For compensatory, statutory, and punitive damages in amounts to be

                     determined by the Court and/or jury;

               (e)   An award of statutory penalties to the extent available;

               (f)   For pre-judgment interest on all amounts awarded;

               (g)   For an order of restitution and all other forms of monetary relief; and




                                                 19
       Case 1:22-cv-06815-NRB Document 1 Filed 08/10/22 Page 20 of 20



              (h)   For an order awarding Plaintiff, the Class, and the Massachusetts

                    Subclass their reasonable attorneys’ fees and expenses and costs of

                    suit.

                              DEMAND FOR TRIAL BY JURY

      Pursuant to Fed. R. Civ. P. 38(b)(1), Plaintiff demands a trial by jury of all issues so triable.



Dated: August 10, 2022                              Respectfully submitted,

                                              BURSOR & FISHER, P.A.

                                              By:      /s/ Julian C. Diamond
                                                           Julian C. Diamond

                                              Julian C. Diamond
                                              888 Seventh Ave, Third Floor
                                              New York, NY 10019
                                              Telephone: (646) 837-7150
                                              Facsimile: (212) 989-9163
                                              E-Mail: jdiamond@bursor.com

                                              BURSOR & FISHER, P.A.
                                              Neal Deckant
                                              1990 North California Blvd., Suite 940
                                              Walnut Creek, CA 94596
                                              Telephone: (925) 300-4455
                                              Facsimile: (925) 407-2700
                                              Email: ndeckant@bursor.com

                                              Attorneys for Plaintiff




                                                 20
